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               ATTACHMENT – CURRICULUM VITAES



  1) Kelly Van Arsdale, Forensic Examiner FBI

  2) Robert Gillette, Forensic Chemist FBI

  3) Michael Jacobs, Special Agent ATF

  4) Michael Yauk, Senior Forensic Examiner FBI
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CURRICULUM VITAE


                                         Robert W. Gillette
                                     Federal Bureau of Investigation
                                          Laboratory Division
                                            Explosives Unit
                                      2501 Investigation Parkway
                                          Quantico, VA 22135

                          Phone: (703) 632-7652             Email: rwgillette@fbi.gov



    PROFESSIONAL EXPERIENCE

    DEC 2012 - Present    Chemist - Forensic Examiner
                          Explosives Unit
                          FBI Laboratory
                          Federal Bureau of Investigation
                          Quantico, VA

                          Performed forensic examinations on evidence submitted to the Explosives Unit for
                          the presence explosives. Wrote reports regarding results of the analyses and as
                          necessary provided testimony regarding the results of the examinations. Managed
                          the proficiency testing program for the unit.


    JUN 2009 – DEC 2012 Chemist
                        Explosives Unit and Forensic Operations Unit
                        FBI Laboratory
                        Federal Bureau of Investigation (April 2012 - Dec 2012)
                        Oak Ridge Associated Universities (June 2009 - April 2012)
                        Quantico, VA

                          Performed forensic examinations on evidence submitted to the Explosives Unit
                          and the Forensic Operations Unit for the presence explosives.


    JUL 2007 – MAY 2009 Associate Chemist
                        OCONUS Laboratory Support
                        Special Programs Division
                        Midwest Research Institute
                        Kansas City, MO

                          Performed development and validation of an ion chromatography/mass
                          spectrometry (IC/MS) procedure for the analysis of explosives and unknown
                          samples. Prepared and analyzed samples using IC/MS.
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    JUN 2000 – NOV 2005 Visiting Scientist
                        Counterterrorism and Forensic Science Research Unit
                        FBI Laboratory
                        Federal Bureau of Investigation
                        Quantico, VA

                          Performed forensic science research for the development and validation of
                          various analytical methods. The techniques developed included IC/MS, liquid
                          chromatography/mass spectrometry, and capillary electrophoresis. Prepared
                          and analyzed various samples including explosives, food, and biologicals.


PROFESSIONAL MEMBERSHIPS


    MAY 2019 – Present    Steering Committee - International Advisor
                          Forensic International Network for Explosives Investigation (FINEX)
                          European Network of Forensic Science Institutes (ENFSI)

                          Represented the FBI as a member on the steering committee for the expert
                          working group on explosives (FINEX) of the ENFSI. Worked together with
                          international experts through exchanges of technical information with the goal of
                          improving and advancing the field of forensic explosives investigations.


EDUCATION


JAN 2007                  George Mason University
                          Fairfax, Virginia
                          Master of Science Degree (Thesis)
                          Major: Chemistry


MAY 2001                  George Mason University
                          Fairfax, Virginia
                          Bachelor of Science Degree
                          Major: Chemistry
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TRAINING/CONFERENCES/MEETINGS


    2021        FINEX Ask an Expert Session, (Virtual)
    2021        National Improvised Explosive Familiarization, FBI (Florence, AL)
    2020        FINEX Ask an Expert Session, (Virtual)
    2019        FINEX Conference (Cergy-Pontoise, France)
    2018        National Improvised Explosive Familiarization, FBI (Huntsville, AL)
    2017        12th International Symposium on the Analysis and Detection of Explosives (Oxford, England)
    2016        TSL Explosives Detection Training Workshop (Atlantic City International Airport, NJ)
    2015        IED Updates and Trends Workshop (Cagayan de Oro City, Mindinao, Philippines)
    2015        ATF laboratory tour and meeting (Ammendale, MD)
    2015        CTTSO Explosives Detection Technology Demonstration (Tysons, VA)
    2014        MP Associates pyrotechnic production facility tour (Ione, CA)
    2013        WMD Crime Scene Operations Course, FBI Laboratory (Quantico, VA)
    2013        Hazardous Materials Operations Course, FBI Laboratory (Quantico, VA)
    2013        Laboratory Analysis of Fire Debris Evidence, FBI Laboratory Explosives Unit (Quantico, VA)
    2012        LTQ Operations Course, Thermo Fisher Scientific (West Palm Beach, FL)
    2012        National Improvised Explosive Familiarization, FBI (Cedar Rapids, IA)
    2011        First Defender RM, Thermo Fisher Scientific (Quantico, VA)
    2011        The Chemistry of Pyrotechnics & Explosives, Washington College (Chestertown, MD)
    2011        Explosives Analysis, FBI Laboratory Explosives Unit (Quantico, VA)
    2010        FTIR/Raman/NIR, Thermo Scientific (Richmond, VA)
    2010        FTIR, Thermo Scientific (Madison, WI)
    2010        Explosives Engineering, Paul W. Cooper, Instructor (Fredericksburg, VA)
    2010        Scanning Electron Microscopy, College of Microscopy (Westmont, IL)
    2010        Fundamentals of X-ray Powder Diffraction, ICDD (Newtown Square, PA)
    2009        Large Vehicle Bomb Post Blast Investigator School, FBI (Concord, NH)
    2009        LC Operations, Agilent (Overland Park, KS)


EXPERT TESTIMONY


    FEB 2019         Courtroom Testimony
                     The People of the State of California vs. Saleh Ali
                     Superior Court of the State of California, County of Orange
                     Discipline – Explosives Chemistry

    NOV 2018         Courtroom Testimony
                     United States of America vs. Akayed Ullah
                     United States District Court, Southern District of New York
                     Discipline – Explosives Chemistry

    OCT 2018         Courtroom Testimony
                     The People of the State of California vs. Jeffrey Enslow
                     Superior Court of the State of California, County of Kern
                     Discipline – Explosives Chemistry
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PRESENTATIONS


    Ongoing     Improvised Explosives Awareness, DEA Clandestine Laboratory Classes (Quantico, VA)

    2021        Explosives Field Detection, National Improvised Explosive Familiarization (Seattle, WA)

    2021        Improvised Explosives and Explosives Precursors, Explosives Awareness and IED
                Familiarization Course for K9 Handlers. Quantico, VA

    2021        Explosives Field Detection, National Improvised Explosive Familiarization (Florence, AL)

    2020        An Introduction to Improvised Explosives. Improvised Explosives and Explosive Devices
                Training, Stafford County Sherriff’s Office. Quantico, VA.

    2019        Improvised Explosives. Improvised Explosives Training, International Association of Bomb
                Technicians and Investigators. Fort Wayne, IN.

    2019        Improvised Explosives Investigation. 2019 FINEX Conference. Cergy-Pontoise, France

    2018        Explosives Field Detection, National Improvised Explosive Familiarization (Huntsville, AL)

    2017        Implementing IC-MS at the FBI Laboratory. 12th International Symposium on the Analysis
                and Detection of Explosives. Oxford, England.

    2017        The Improvised Explosive Threat. Advanced Post Blast Investigation Course. Jaegerspris,
                Denmark.

    2016        Explosives Field Detection. Bomb Scene Management and Homemade Explosives Course.
                Nairobi, Kenya.

    2015        Explosives Chemistry in Post Blast Investigations. Philippine Bomb Data Center. Camp
                Crame, Quezon City, Philippines.

    2015        Collection and Preservation of Explosives from Post Blast Scenes. IED Updates and Trends
                Workshop 2015. Cagayan de Oro City, Mindinao, Philippines.

    2006        Analysis of Explosives and Explosive Residue by Ion Chromatography/Mass Spectrometry.
                George Mason University. Fairfax, VA.

    2005        Analysis of Explosives and Explosive Residue by Ion Chromatography/Mass Spectrometry.
                FBI Laboratory Counterterrorism and Forensic Science Research Unit. Quantico, VA.

    2002        Analysis of Anions in Food and Biological Samples by Capillary Electrophoresis (Poster).
                American Chemical Society Middle Atlantic Regional Meeting. Fairfax, VA.

    2001        Analysis of Anions using Capillary Electrophoresis. FBI Laboratory Chemistry Unit.
                Washington D.C.
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PROFESSIONAL OPERATIONS


    JUL 2019         North Carolina: Improvised Explosives Investigation
    JUN 2018         Pennsylvania: Improvised Explosives Investigation
    MAR 2018         Texas: Improvised Explosives Investigation
    SEP 2016         New Mexico: Improvised Explosives Investigation
    APR 2014         Bermuda: Explosives Residue Investigation


PUBLICATIONS


    R. Gillette, J.M. Doyle, M.L. Miller, M.A. Montgomery, G.W. Mushrush. Capillary electrophoresis
             screening of poisonous anions extracted from biological samples. Journal of Chromatography B,
             Volume 831, Issues 1-2, 2 February 2006, Pages 190-195.

    M.L. Miller, J.M. Doyle, R.A. Lee, R. Gillette. Analysis of Anions by Capillary Electrophoresis and Ion
            Chromatography for Forensic Applications. Forensic Science Communications. 2 (2001).
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                           STATEMENT OF QUALIFICATIONS

                                     Michael H. Jacobs
                                        Special Agent
                     Bureau of Alcohol, Tobacco, Firearms and Explosives
                                     Detroit, Michigan

   I, Michael Hussain Jacobs hereby declare and state:

   1. That I am employed with Bureau of Alcohol, Tobacco, Firearms and Explosives
      (ATF) as a Special Agent (SA) and have served in that capacity since March 2016. I
      am currently assigned to the Detroit Field Division Group IV as well as the FBI
      Detroit Violent Crimes Task Force.

   2. As a Special Agent with ATF, one of my responsibilities is conducting criminal
      investigations into alleged violations of the Federal firearms laws. I have acquired
      knowledge and experience as to firearms, ammunition, and the interstate nexus of
      firearms and ammunition, due to investigations, research, records, familiarity,
      conferring with other experts, training, teaching, and certifications. I prepare reports
      and official correspondence relating to the identification, origin, and classification of
      firearms and ammunition under the provisions of the Federal firearms laws.

   3. Prior to being employed by the ATF, I was employed as a police officer in Detroit,
      Michigan at the Wayne State University Police Department for approximately eight
      years from 2008 to 2016. During my time as a Wayne State University Police Officer,
      I was assigned as a Task Force Officer (TFO) with the Detroit Federal Bureau of
      Investigation (FBI) Violent Crimes/Violent Gangs Task Force for approximately four
      years.

   4. That during the course of my duties, I have examined hundreds of firearms and
      rounds of ammunition for the purpose of determining the manufacturer, model,
      caliber/gauge, and serial number; the place of manufacturer; function and design,
      and/or status as related to the National Firearms Act and the Gun Control Act.

   5. That I have contacted the ATF National Tracing Center on numerous occasions and
      requested firearms traces concerning the manufacture and interstate/intrastate
      shipment of firearms. I have also assisted numerous Federal, state and local law
      enforcement agencies with firearm traces.

   6. I earned my Bachelor of Science degree in Criminal Justice from Wayne State
      University in Detroit, Michigan in December of 2007.

   7. I graduated from and received basic Police Officer training from the Wayne County
      Regional Police Academy at Schoolcraft College in Garden City, Michigan in May of
      2008.
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   8. I received Federal Law Enforcement Training by attending Criminal Investigator
      Training Program and the ATF Special Agent Basic Training in the Federal Law
      Enforcement Training Center (FLETC) in Glynco, Georgia, in 2016.

   9. I completed the Rifle Instructor/ Sub Machine Gun Instructor Course at The Macomb
      Police Academy in Clinton Township, Michigan.

   10. In 2019, I attended the ATF Interstate Nexus training in Glynco, Georgia and the
       Advanced Interstate Nexus Training at various locations around the New England
       region of the United States.

   11. That I have received formal training for law enforcement personnel in both a general
       and specific nature as it pertains to the recognition and identification of firearms and
       ammunition and their place of manufacture. This training includes, but is not limited
       to the following:

          Criminal Investigator School, Federal Law Enforcement Training Center, Glynco,
          Georgia
          Special Agent Basic Training, ATF National Academy, Glynco, Georgia
          Firearms Interstate Nexus Training, ATF National Academy. Glynco, Georgia.
          Advanced Interstate Nexus Training, New England, USA.

          During the Interstate Nexus Training in Glynco, Georgia, I personally toured the
          following firearms manufacturing plant:

          Daniel Defense Systems firearms manufacturing plant.

          During the Advanced Interstate Nexus Training in New England, I personally
          toured the following firearms manufacturing plants:

          Sturm, Ruger & Company
          Sig Sauer
          Smith & Wesson
          Smith and Wesson Precision Plastics
          Kahr Arms Manufacturing Company
          Colt’s Manufacturing Company

   I also toured the Springfield Armory national Historic Site, Springfield, Massachusetts
   where I examined over 100 firearms in the firearm’s library.

   12. That I maintain current information regarding a historical list of licensed U.S. and
       foreign manufacturers, importers, and distributors, as well as common firearms proof
       marks utilized by numerous foreign countries.
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   13. That my expertise relative to the various disciplines of firearms and ammunition to
       include interstate nexus has been requested and recognized by the following agencies:

          Bureau of Alcohol, Tobacco, Firearms and Explosives
          Federal Bureau of Investigation
          United States Attorney's Office for the Easter Judicial District of Michigan

   14. That for over 20 years I have had a personal interest in the history, collection,
       nomenclature, and sporting and professional use of firearms and ammunition. I have
       also accumulated a personal reference library of firearms and ammunition related
       publications such as Gun Trader’s Guide, Gun Digest, Blue Book of Antique
       Firearms and Values, Standard Catalog of Firearms, Standard Catalog of Smith and
       Wesson, Ammo Encyclopedia, Guns and Ammo Magazine, and Blue Book of Gun
       Values, in order to remain familiar with firearms and firearm trends.

                           ________________________________

                                     Michael H Jacobs
                                       Special Agent
                    Bureau of Alcohol, Tobacco, Firearms and Explosives
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                                  Curriculum Vitae of Michael Yauk


PROFESSIONAL EXPERIENCE

2015-Present
Information Technology Specialist - Senior Forensic Examiner
Federal Bureau of Investigation
Computer Analysis Response Team (CART)

Serves as Senior Forensic Examiner responsible for planning, coordinating and directing digital forensic
science activities. Experienced in advanced information technology (IT) projects requiring complex and
difficult forensic examinations of computer, digital, and similar media and equipment using a wide
range of IT knowledge. Experienced in evidentiary techniques resulting in the acquisition, examination,
and presentation of computer-related evidence for investigative purposes. Performs technical
analyses of evidence in all types of difficult and complex cases. Prepares and furnishes authoritative
oral and written reports which convey opinions and findings and presents necessary court testimony.
Identifies, diagnoses, and corrects errors and problems. Provides technical guidance and assistance to
others involved in the investigation to ensure precautions are taken to prevent data and equipment
damage. Serves as technical consultant and provides training in computer examinations and
techniques to Agents, federal, state, and local law enforcement agencies.

Additional qualifications include such advanced authorizations as Macintosh, Mobile, and JTAG/ISP
authorized Examiner. Accepted and currently enrolled in the Forensic Audio, Video, and Image
Analysis Unit training program in 2018. Serves as primary purchase card holder for the Detroit Office.
Instructional responsibilities include ImageScan, DriveQuest, and Case Agent Investigative Review
(CAIR) training programs. Developed curriculum as primary instructor for “File System Forensics;” a 40-
hour training course, required as part of the training curriculum for new examiners, focusing on the
New Technology File System (NTFS) and File Allocation Table (FAT) file systems. This course is required
as part of the CART training curriculum for new examiners. Converted course to multimedia lecture
available as a distance learning training program in 2018.


2010-2015
Information Technology Specialist - Forensic Examiner
Federal Bureau of Investigation
Computer Analysis Response Team (CART)

2007-2010, 2014-2016
Adjunct Professor
Eastern Michigan University
School of Technology Studies - Information Assurance



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Provided all development and Instruction for the following:

IA 327/558 - Computer Forensics I - Introduction to Digital Forensics
Computer Forensics I addresses the comprehension and application of Computer Forensic
Investigations. Students will evaluate and synthesize technical and legal issues in relation to digital
evidence. Students will apply various skills and techniques, combined with numerous investigative
software tools to analyze seized electronic media.

IA 328/428/559 - Computer Forensics II - Intermediate Digital Forensics
This advanced course addresses the comprehension and application of Digital Forensic Investigations.
Students will evaluate and synthesize technical and legal issues in relation to digital evidence. Students
will apply various skills and techniques, combined with numerous investigative software tools to
analyze seized electronic media. This class will continue to build upon computer forensics
fundamentals, and introduces the NTFS file system and system artifacts such as internet history, user
preferences, the registry, link files, etc.

IA 329/559 - Computer Forensics III - Enterprise Digital Forensics
As certifications become a legal requirement in the field of Digital Forensics, Digital Forensics III will
continue to build upon the previous two forensic courses and will provide the knowledge and skills
necessary to install, configure and effectively use Forensic Toolkit (FTK), FTK Imager, Password
Recovery Toolkit (PRTK), and Registry Viewer. Students will also use AccessData products to conduct
forensic investigations on Microsoft® Windows® systems, learning where and how to locate Windows
system artifacts. Upon completion of the course, all students will take the ACE certification test.

IA 103 - Introduction to Information Assurance
A study of security in both the voice and data networks and an examination of the security issues
associated with the movement toward a convergence of the two infrastructures. Topics to be covered
include voice and data network connectivity, modem security, VOIP security, wireless security,
cryptography, intrusion detection systems, voice and data firewalls, malicious software, information
operations and warfare, and denial of service attacks.


2003-2010
Program Associate, Information Assurance
Lead Instructor/Curriculum Developer
Eastern Michigan University
Center for Regional and National Security (CeRNS)

Facilitator to Schools of Cyber-Crime, Digital Forensics, and Linux for Law Enforcement courses
including research, content development, administrative expertise, and instruction within the 520
classroom hours of the three different state grant funded programs. Continually worked to redesign
and develop Schools of Cybercrime and Forensics. Responsible for budgeting, contractor management,
and financial compliance within each grant.


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Developed and taught an average of 200 contact hours per year from 2003 until 2010.
Topics Included: Internet Artifact Analysis, First Response to Electronic Crime, ImageScan & Forensic
Preview, External Media (CD/DVD & Digital media), Validation of Hardware and Software, Forensic
Tools for Image Analysis, Policy and Procedure Development, Building the Forensic Workstation,
Introduction to Computer Forensics, Password Recovery, Network Investigation Fundamentals, Ethical
Penetration Testing, Wireless Vulnerability Testing, Introduction to Cyber Crime Investigations, Volatile
Evidence Collection.


OTHER INSTRUCTIONAL EXPERIENCE
(Course Title, Number of Days)

2010-Present
Information Technology Specialist- Forensic Examiner
Federal Bureau of Investigation
Computer Analysis Response Team (CART)

File Systems. (5)
ImageScan. v3.X. (1)
Case Agent Investigative Review (CAIR). (1)
DriveQuest. (1)

2009-2010
Contractual Instructor
ADF Solutions

Digital First Responder (DFR) course – Levels 1 and 2


OTHER PROFESSIONAL PRESENTATIONS

Introduction to Digital Forensic Science
Cheryl Stockwell Academy District, CSPA Middle School, November 2016

Digital Forensics
CRJ 475 Digital Evidence, University of Michigan, Scott Macek, April 2014

Introduction to Digital Forensics Investigations
Warren Consolidated Schools, Career Preparation Center, 2008, 2007

Introduction to Digital Forensics Investigations
Eastern Michigan University, Information Assurance, Guest Lecturer, 2008




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Introduction to Digital Forensics Investigations
Michigan Association of Government Computer Users, Annual Conference, 2006

Introduction to Electronic Crime and Computer Forensics
GILMA WALA, 2005


CERTIFICATIONS and AUTHORIZATIONS

2016 Computer Analysis Response Team (CART) JTAG/ISP Authorized Examiner. Federal Bureau of
     Investigation (FBI)

2016 Certified BlackLight Examiner (CBE) - Recertification. Blackbag Technologies

2015 Computer Analysis Response Team (CART) Senior Examiner. Federal Bureau of Investigation
     (FBI)

2015 Certified BlackLight Examiner (CBE). Blackbag Technologies

2012 Computer Analysis Response Team (CART) Macintosh Authorized Examiner. Federal Bureau of
     Investigation (FBI)

2012 Network + (N+). Computing Technology Industry Association (COMPTIA)

2012 Computer Analysis Response Team (CART) Cell Phone Authorized Examiner. Federal Bureau of
     Investigation (FBI)

2012 GIAC Certified Forensic Analyst (GCFA). Global Information Assurance Certification (GIAC)

2012 AccessData Certified Examiner (ACE) v3.X - Recertification. AccessData

2012 Computer Analysis Response Team Macintosh Basic Certified Examiner. Federal Bureau of
     Investigation (FBI)

2012 Computer Analysis Response Team Linux Command Line Authorized. Federal Bureau of
     Investigation (FBI)

2011 Certified Computer Forensic Examiner (CFCE). International Association of Computer
     Investigative Specialists (IACIS)

2011 Computer Analysis Response Team (CART) Windows Intel Architecture (WINTEL) Certified
     Examiner. Federal Bureau of Investigation (FBI)

2010 A+. Computing Technology Industry Association (COMPTIA)

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2010 AccessData Certified Examiner (ACE) v3.X. AccessData

2008 Certified Electronic Evidence Collection Specialist (CEECS). International Association of
     Computer Investigative Specialists (IACIS)

2008 AccessData Certified Examiner (ACE) v1.X. AccessData

2005 Certified Cell Phone Examiner. Paraben

2005 Certified PDA Examiner. Paraben

2005 Certified Computer Examiner (CCE). International Society of Forensic Computer Examiner
     10/2005 – 10/2007

2005 Professional Development Series Certificate. Federal Emergency Management Institute


PROFESSIONAL TRAINING
(Course Title, Provider, Number of Days)

Oct 2018 Moot Court - Proctor. Federal Bureau of Investigation (5)

Oct 2018 macOS Technical Refresher Self-Paced - Technical Reviewer. Federal Bureau of Investigation

Oct 2018 Mobile Device Refresher Self-Paced - Technical Reviewer. Federal Bureau of Investigation

Sep 2018 iZotope for Forensic Audio Analyst. Federal Bureau of Investigation (2)

Sep 2018 Introduction to Forensic Audio Analyst. Federal Bureau of Investigation (2)

Aug 2018 SQLite Forensics. Teel Tech (3)

Aug 2018 FBI Audio/Video Tools. Federal Bureau of Investigation (1)

Aug 2018 Video Focus for Forensic Audio and Video Analyst. Federal Bureau of Investigation (2)

Jul 2018 FFMPEG for Forensic Video Analyst. Federal Bureau of Investigation (2)

Jul 2018 Adobe Premier for Forensic Video Analyst. Federal Bureau of Investigation (3)

Jun 2018 Adobe Photoshop for Forensic Video Analyst. Federal Bureau of Investigation (4)

Jun 2018 Introduction to Forensic Video Analyst. Federal Bureau of Investigation (1)


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Sep 2016 Digital Evidence Policy Guide Training Self-Paced. Federal Bureau of Investigation

Sep 2016 JTAG/ISP Examiner Certification Training. Federal Bureau of Investigation (5)

Apr 2016 BlackLight Tool Training. Blackbag Technologies (2)

Apr 2016 Cellebrite Advanced Smartphone Analysis (CASA). Cellebrite (3)

Oct 2015 Instructional Strategies Course (ISC). Federal Bureau of Investigation (5)

Jun 2015 Android Self-Paced Training. Federal Bureau of Investigation

Mar 2015 BlackLight Tool Training. Blackbag Technologies (2)

Jan 2015 Encase Forensic Self-Paced Training. Federal Bureau of Investigation

Nov 2014 Presentation Skills Course (PSC). Federal Bureau of Investigation (3)

Jul 2014 BBT-95e “BlackLight Tutorial” Self-Paced Training. BlackBag Technologies

May 2014 X-Ways Forensic Self-Paced Training. Federal Bureau of Investigation

Feb 2014 GPS/Cell Phone Self-Paced Training. Federal Bureau of Investigation

Apr 2013 Senior Moot Court. Federal Bureau of Investigation (5)

Jan 2013 Apple Care Technician Self-Paced Training. Apple

Dec 2012 Sumuri Macintosh Forensic Survival Course. Sumuri, LLC. (5)

Sep 2012 Cellebrite UFED Python Training. Cellebrite (2)

Aug 2012 Digital Evidence Evolution Workshop. Federal Bureau of Investigation (3)

Aug 2012 Timeline Self-Paced Training. Federal Bureau of Investigation

May 2012 Cell Phone / GPS Training. Federal Bureau of Investigation (4)

Apr 2012 SANS FOR508: Advanced Computer Forensic Analysis and Incident Response. The SANS
            Institute (6)

Feb 2012 CART Moot Court - Proctor. Federal Bureau of Investigation (4)

Jan 2012 CART Linux Command Line. Federal Bureau of Investigation (3)

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Dec 2011 Firewire Target Disk Mode Acquisition Self-Paced Training). Federal Bureau of Investigation

Oct 2011 CART TestFest. Federal Bureau of Investigation (3)

Aug 2011 X-Ways Forensics. X-Ways (3)

Jul 2011 Live Capture Tool Self-Paced Training (HBGARY, F-RESPONSE, FTK LAB, VOLATILITY,
               PRINCETON COLD BOOT). Federal Bureau of Investigation

Jun 2011 DriveQuest “Train the Trainer”. Federal Bureau of Investigation (3)

May 2011 CART Moot Court. Federal Bureau of Investigation (4)

Mar 2011 FTK Lab “Train the Trainer”. AccessData (3)

Jan 2011 FTK Lab v3.X Self-Paced Training. Federal Bureau of Investigation

Nov 2010 Windows Registry. AccessData (3)

Nov 2010 Live Capture Self-Paced Training. Federal Bureau of Investigation

Oct 2010 CART Practical’s. Federal Bureau of Investigation (5)

Sep 2010 Encase Examination of NTFS. Guidance Software (3)

Sep 2010 CART 101. Federal Bureau of Investigation (3)

Jun 2010 Windows Registry. AccessData (3)

May 2010 Internet Forensics. AccessData (3)

Jan 2010 Windows 7 Forensics. AccessData (1)

Nov 2009 MAC Forensics. AccessData (3)

Sep 2009 Mobile Forensics 101. AccessData (3)

Feb 2009 ImageScan version 3 “Train the Trainer”. Federal Bureau of Investigations (2)

May 2008 IACIS Basic Training Conference. International Association of Computer Investigative
             Specialists (14)

Mar 2008 ACE Preparation. AccessData (1)

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Feb 2008 Applied Decryption. AccessData (3)

Feb 2008 Internet Forensics. AccessData (3)

Jan 2008 Windows Forensics. AccessData (3)

Jan 2008 Bootcamp. AccessData (3)

Dec 2007 Forensic Fundamentals. AccessData (3)

Jun 2007 Windows Forensics. AccessData (3)

Jun 2007 Bootcamp. AccessData (3)

May 2007 Encase Computer Forensics I. Guidance Software (4)

Nov 2006 Bootcamp. AccessData (3)

Oct 2006 HTCIA International Training Conference. High Technology Crime Investigators Association

Oct 2006 Forensic Fundamentals. AccessData (3)

Aug 2006 ImageScan System v2.1. Federal Bureau of Investigation (1)

Jul 2006 Internet Forensics. AccessData (3)

Mar 2006 Critical Infrastructure Protection Conference. Michigan State Police

Oct 2005 2005 Summit “The Forecast” Michigan Prepared Conference. Michigan State Police

Oct 2005 PDA Seizure. Paraben (3)

Oct 2005 Cell Phone Forensics. Paraben (3)

June 2005 Windows Forensics. AccessData (3)

Mar 2005 Bootcamp. AccessData (3)

Aug 2003 School of Computer Forensics. Center for Regional and National Security (30)

Jun 2003 Using Linux as a Forensics Computing Platform. Center for Regional and National Security (5)

Mar 2003 School of Computer Cyber Crime. Center for Regional and National Security (30)

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Michael Yauk
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EDUCATION

Master of Science, Digital Forensic Science, Champlain College, Burlington, VT.
May 2015

Bachelor of Science, Eastern Michigan University, Ypsilanti, MI.
Information Assurance, Network Administration, Information Technology Management


ORGANIZATIONS

2012-Present Member, Digital Forensic, Incident-Response (DFIR) The SANS Institute

2009-2010        Content Advisory Board, Federal Bureau of Investigation: ImageScan training program.

2008-2010        Advisory Board Member, Warren Consolidated Schools Career Preparation Center,
                 Network Administration Program

2007-Present Member, International Association of Computer Investigative Specialists (IACIS)

2006-Present Member, High Tech Crime Consortium (HTCC)

2006-2011        Member, High Technology Crime Investigation Association (HTCIA);
                 Educational Director, Michigan Chapter, 2007 & 2008

2005-2010        Member-Infragard

2003-Present Member, International Society of Forensic Computer Examiners (ISFCE)




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